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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

OKLAHOMA SPECIALTY INSURANCE                   §
COMPANY,                                       §
                                               §
               Plaintiff,                      §
                                               §
V.                                             §           1-15-CV-262 RP
                                               §
KUNG FU SALOON HOLDINGS, LLC                   §
and ROBERT CAMILLONE,                          §
                                               §
               Defendants.                     §


                                            ORDER

       Before the Court is the parties’ Joint Agreed Motion to Dismiss With Prejudice, filed June

30, 2015 (Clerk’s Dkt. #4). By way of the motion, the parties ask the Court to dismiss all claims

asserted in this action with prejudice.

       Accordingly, the Joint Agreed Motion to Dismiss With Prejudice (Clerk’s Dkt. #4) is

GRANTED.

       IT IS THEREFORE ORDERED that all claims and causes of action asserted by the parties

are hereby DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that all costs of suit shall be paid by the party incurring same.

       IT IS FINALLY ORDERED that all relief not otherwise granted herein is denied.

       SIGNED on July 1, 2015.




                                           ROBERT L. PITMAN
                                           UNITED STATES DISTRICT JUDGE
